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United States District Court

S()UTHERN DISTRICT ()F INDIANA

UNITED sTATEs oF AMERICA
CRIMINAL COMPLAINT

V.

])AVID DAVIS CASE NUMBER: l:lS-mj -00275

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and belief.
Count One: On or about March l7, 2018, within the Southern District of Indiana, DAVID DAVIS7 the defendant herein,
having been convicted of one or more felony crimes punishable by imprisonment for a term exceeding one (l) year, to wit: Possession
. of Methamphetamine, in Marion County (lndiana) Superior Court, on or about October 20, 2015 (Cause #49Gl4-1504-F6-013726),
and Theft in Marion County (lndiana) Superior Court, on or about November 2, 2006 (Cause #49F09-0606-FD-1089l7), did, on or
about November 2, 2006, knowingly possess a tirearm, to wit: AMT .3 80 caliber pistol, bearing serial number J60056, in violation of
Title 18, United States Code, Section 922(g)(l).

I further state that I am a Special Agent, and that this complaint is based on the following facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof. ;

Special Agent Todd Bevington, ATF
Sworn to before me, and subscribed in my presence

March 22, 2018 at Indianapolis, Indiana
Date

Debra McVicker Lynch, U.S. Magistrate Judge w MW

Name and Title of Judicial Off\cer Signature of Judicial Officer

 

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AFFIDAVIT IN SUPPORT OF
APPLICATION FOR CRIMINAL COMPLAINT

1. I, Todd J. Bevington, am a Special Agent (SA) with the Bureau of Alcohol,
Tobacco, Firearms and Explosives (“ATF”) and have been so employed since December of
2013. Prior to ATF, I was a police officer and detective with the Richmond, Virginia, Police
Department for over thirteen years. l graduated from the Federal Law Enforcement Training
Center and am currently assigned to the ATF-lndianapolis Field Office. I have participated in
numerous state and federal firearms and narcotics investigations The information contained in
the below numbered paragraphs is either personally known to me or told to me by other law
enforcement officers.

2. On March 17, 2018, at approximately 5:20 p.m., Indianapolis Metropolitan Police
Department (IMPD) officers stopped a vehicle driven by David DAVIS (W/M, DOB
XX/XX/l979) for failing to utilize a turn signal. The traffic stop occurred in the 1000 block of
South Reisner Street, lndianapolis, Indiana (within the Southern District of Indiana). There were
two other occupants in the vehicle with DAVIS.

3. Officers smelled the odor of marijuana coming from inside the vehicle and
detained DAVIS and the other two occupants. Officers determined DAVIS had a suspended
driver’s license and the vehicle he Was driving was reported stolen. Officers advised DAVIS and
the other occupants of their Miranda wamings.

4. After verifying the vehicle was stolen, officers conducted a search of the vehicle.
Officers located a loaded AMT .3 80 caliber pistol, bearing serial number J60056, between the
driver’s seat and the center console. Officers also located a small quantity of methamphetamine

inside the vehicle.

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5. DAVIS told officers that the firearm belonged to him and that his fingerprints
and DNA would be recovered on the firearm.

6. A_review of DAVIS’ criminal history shows that DAVIS has sustained felony
convictions (punishable by more than one year imprisonment) in the State of Indiana, including:
` a conviction for possession of methamphetamine, in Marion County (lndiana) Superior Court, on
or about October 20, 2015 (Cause #49G14-1504-F6-013726), and a conviction for theft in
Marion County (lndiana) Superior Court, on or about November 2, 2006 (Cause #49F09-0606- v
FD- 1 0891 7).

7. Based on my training and experience, the .3 80 caliber AMT pistol described
above Was not manufactured in the State of Indiana and therefore had traveled in interstate
commerce prior to DAVIS’ possession of it.

Conclusion

8. Based on the facts set forth in this affidavit, I submit that probable cause exists to

believe that on March 17, 2018, in the Southern District of Indiana, David DAVIS, having been

convicted of a crime punishable by imprisonment for a term exceeding one year, did knowingly

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possess a firearm, said firearm having been shipped and transported in interstate or foreign

commerce, in violation of Title 18, United States Code, Section 922(g)(l).

@AQ

Special Agent Todd Bevington, ATF

Sworn to and subscribed to before me this °?°?~Jday of March 2018.

The Hoiiorable Debra McVii:ker Lynch
United States Magistrate Judge

Southern District of Indiana

